                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                  CRIMINAL ACTION NO. 5:09-CR-00021-KDB-DCK

 UNITED STATES OF AMERICA,


    v.                                                        ORDER

 KAREEM KABBAR WEBB,

                Defendant.


   THIS MATTER is before the Court on the Government’s motion to hold this matter in

abeyance pending the issuance of the Fourth Circuit’s mandate in United States v. Chambers, No.

19-7104. (Doc. No. 59). Defendant, through counsel, consents to the Government’s abeyance

request.

   On April 23, 2020, the Fourth Circuit issued a divided opinion in Chambers. The Government

has since filed a petition for a rehearing en banc. Because Defendant’s pending motion for a

reduced sentence relies on the Fourth Circuit’s holding in Chambers, the Court will grant the

Government’s motion to hold this matter in abeyance until the Fourth Circuit issues the mandate

in Chambers.

   IT IS THEREFORE ORDERED that the Government’s motion to hold this matter in

abeyance, (Doc. No. 59), is GRANTED.

   IT IS FURTHER ORDERED that counsel inform the Court within fourteen (14) days of the

Fourth Circuit’s mandate in United States v. Chambers.

         SO ORDERED.
                                       Signed: May 20, 2020




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